      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 1 of 28




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
SANDY GRACIANO, ON BEHALF OF HIMSELF :                     ECF CASE
                                       :
AND ALL OTHER PERSONS SIMILARLY
                                       :
SITUATED,
                                       :                   No.: 1:20-cv-7540
                                       :
                Plaintiffs,
                                       :
                                       :                   CLASS ACTION COMPLAINT
                   v.
                                       :
                                       :                   JURY TRIAL DEMANDED
BROWNELL, INC.,
                                       :
                                       :
                Defendant.
                                       :
------------------------------------x
                            INTRODUCTION

       1.      Plaintiff, SANDY GRACIANO, on behalf of himself and all other persons

similarly situated, asserts the following claims against Defendant, BROWNELL, INC., as

follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the terms

“blind” or “visually-impaired” to refer to all people with visual impairments who meet the

legal definition of blindness in that they have a visual acuity with correction of less than or

equal to 20 x 200. Some blind people who meet their definition have limited vision. Others

have no vision.

       3.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd,

U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that

public accommodations must make the websites they own, operate, or control equally

accessible to individuals with disabilities. Assistant Attorney General Boyd’s letter

provides:
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 2 of 28




       The Department [of Justice] first articulated its interpretation that the ADA
       applies to public accommodations’ websites over 20 years ago. This
       interpretation is consistent with the ADA’s title III requirement that the
       goods, services, privileges, or activities provided by places of public
       accommodation be equally accessible to people with disabilities.1

       4.      Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind, and

according to the American Foundation for the Blind’s 2015 report, approximately 400,000

visually impaired persons live in the State of New York.

       5.      Plaintiff brings his civil rights action against BROWNELL, INC.,

(“Defendant” or “Brownells Retail Store”) for its failure to design, construct, maintain, and

operate its website to be fully accessible to and independently usable by Plaintiff and other

blind or visually-impaired people. Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered thereby, is a violation of

Plaintiff’s rights under the Americans with Disabilities Act (“ADA”).

       6.      Because Defendant’s website, https://www.brownells.com/, (the “Website”

or “Defendant’s website”), is not equally accessible to blind and visually-impaired

consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

in Defendant’s corporate policies, practices, and procedures so that Defendant’s website

will become and remain accessible to blind and visually-impaired consumers.




1
  See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of
Justice, to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018)
(available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf)
(last accessed July 13, 2020).

                                             -2-
       Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 3 of 28




        7.       By failing to make its Website available in a manner compatible with

computer screen reader programs, Defendant deprives blind and visually-impaired

individuals the benefits of its online goods, content, and services—all benefits it affords

nondisabled individuals—thereby increasing the sense of isolation and stigma among those

persons that Title III was meant to redress.

        8.       This discrimination is particularly acute during the current COVID-19

global pandemic. According to the Centers for Disease Control and Prevention (“CDC”),

Americans living with disabilities are at higher risk for severe illness from COVID-19 and,

therefore, are recommended to shelter in place throughout the duration of the pandemic.2

This underscores the importance of access to online retailers, such as Defendant, for this

especially vulnerable population.

        9.       The COVID-19 pandemic is particularly dangerous for disabled

individuals.3 The overwhelming burden on hospitals is leading to a worry that the

emergency services will ration treatment. Disabled individuals are in fear that their

diminished capacity to communicate will affect their treatment.4 Public health experts



2
  See Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-
groups%2Fhigh-risk-complications.html (last accessed July 13, 2020) (“Based on currently available
information and clinical expertise, older adults and people of any age who have serious underlying medical
conditions might be at higher risk for severe illness from COVID-19.”).

3
  See The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of
Covid-19 (2020), available at https://www.nytimes.com/2020/04/08/nyregion/coronavirus-
disabilities-group-homes.html?smid=fb-nytimes&smtyp=cur (last accessed July 13, 2020) (“As
of Monday, 1,100 of the 140,000 developmentally disabled people monitored by the state had
tested positive for the virus, state officials said. One hundred five had died — a rate far higher
than in the general population”).
4
  See The Atlantic, Americans With Disabilities Are Terrified (2020), available at
https://www.theatlantic.com/politics/archive/2020/04/people-disabilities-worry-they-wont-get-
treatment/609355/ (last accessed July 13, 2020) (explaining that disabled individuals are
                                                   -3-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 4 of 28




expect social distancing to extend through 2022, and with uncertainty surrounding

businesses transitioning back to normal operations, the importance of accessible online

services has been heightened. During these unprecedented times, disabled individuals risk

losing their jobs, experiencing difficulty acquiring goods and services like health care, and

not having the information they need to stay safe.5

                               JURISDICTION AND VENUE

        10.     The Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        11.     The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”)

and New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) claims.

        12.     Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of

business in this District, Defendant is subject to personal jurisdiction in this District, and a

substantial portion of the conduct complained of herein occurred in this District.

        13.     Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of New

York that caused injury and violated rights the ADA prescribes to Plaintiff and to other


inherently more susceptible to the virus, leading to complications in hospital in which the
individuals are unable to effectively communicate with doctors while intubated).
5
  See Slate, The Inaccessible Internet 2020, available at
https://slate.com/technology/2020/05/disabled-digital-accessibility-pandemic.html (last accessed
July 13, 2020).


                                               -4-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 5 of 28




blind and other visually-impaired consumers. A substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in this District: on several separate occasions,

Plaintiff has been denied the full use and enjoyment of the facilities, goods, and services

of Defendant’s Website while attempting to access the website from his home in Bronx

County. These access barriers that Plaintiff encountered have caused a denial of Plaintiff’s

full and equal access multiple times in the past, and now deter Plaintiff on a regular basis

from visiting Defendant’s Website. This includes, Plaintiff attempting to obtain

information about Defendant’s online retail merchandise.

       14.     Defendant participates in New York’s economic life by clearly performing

business over the Internet. Through its Website, Defendant entered into contracts for the

sale of its products and services with residents of New York. These online sales contracts

involve, and require, Defendant’s knowing and repeated transmission of computer files

over the Internet. See Reed v. 1-800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y.

2018) (exercising personal jurisdiction over forum plaintiff’s website accessibility claims

against out-of-forum website operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp.

3d 365 (E.D.N.Y. 2017).

       15.     The Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                      THE PARTIES

       16.     Plaintiff, SANDY GRACIANO, at all relevant times, is a resident of Bronx,

New York.

       17.     Plaintiff is a blind, visually-impaired handicapped person and a member of

member of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-



                                            -5-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 6 of 28




(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

NYSHRL and NYCHRL.

        18.      Defendant, BROWNELL, INC., is and was, at all relevant times herein, an

Iowa Business Corporation with its principal executive office located at 14834 25th Street,

Oelwein, IA, 50662. Defendant operates the Brownells Retail Store online retail store as

well as the Brownells Retail Store website and advertises, markets, and operates in the

State of New York and throughout the United States.

        19.      Defendant, BROWNELL, INC., operates the Brownells Retail Store online

retail store across the United States. This online retail store constitutes a place of public

accommodation. Defendant’s Website provides consumers with access to an array of goods

including information about purchasing backpacks, emergency and survival gear,

flashlights, learning courses, first aid kits, self defense equipment, pillows, blankets and

other products available online for purchase, and to ascertain information relating to

pricing, shipping, creating an online account, ordering merchandise and return and privacy

policies.

        20.      Defendant’s online retail store is a place of public accommodation within

the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a

service, privilege, or advantage of Defendant’s online retail stores.

                               NATURE OF ACTION

        21.      The Internet has become a significant source of information, a portal, and a

tool for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired

persons alike.



                                             -6-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 7 of 28




       22.     In today’s tech-savvy world, blind and visually-impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software. Screen-

reading software is currently the only method a blind or visually-impaired person may

independently utilize in order to access the internet. Unless websites are designed to be

read by screen-reading software, blind and visually-impaired persons are unable to fully

access websites, and the information, products, and services contained thereon.

       23.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer.

       24.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same content

available to sighted users.

       25.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually-impaired persons. These




                                            -7-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 8 of 28




guidelines are universally followed by most large business entities and government

agencies to ensure their websites are accessible.

        26.     Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually impaired persons

include, but are not limited to, the following:

                a.      A text equivalent for every non-text element is not provided;

                b.      Title frames with text are not provided for identification and

navigation;

                c.      Equivalent text is not provided when using scripts;

                d.      Forms with the same information and functionality as for sighted

persons are not provided;

                e.      Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;

                f.      Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;

                i.      The purpose of each link cannot be determined from the link text

alone or from the link text and its programmatically determined link context;

                j.      One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;




                                             -8-
         Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 9 of 28




                k.      The default human language of each web page cannot be

programmatically determined;

                l.      When a component receives focus, it may initiate a change in

context;

                m.      Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised before using

the component;

                n.      Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that he or she is not a

robot;

                o.      In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to

their specifications, elements may contain duplicate attributes and/or any IDs are not

unique;

                p.      Inaccessible Portable Document Format (PDFs); and,

                q.      The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically

set; and/or notification of changes to these items is not available to user agents, including

assistive technology.

                             STATEMENT OF FACTS

                        Defendant’s Barriers on Its Website

          27.   Defendant offers the commercial website, https://www.brownells.com/, to

the public. The website offers features which should allow all consumers to access the



                                            -9-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 10 of 28




goods and services offered by the Defendant and which Defendant ensures delivery of such

goods throughout the United States including New York State. The goods and services

offered by Defendant include, but are not limited to, the following, which allow consumers

to: purchase backpacks, emergency and survival gear, flashlights, learning courses, first

aid kits, self defense equipment, pillows, blankets and other products available online for

purchase, and to ascertain information relating to pricing, shipping, creating an online

account, ordering merchandise and return and privacy policies.

       28.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s website,

and to therefore specifically deny the goods and services that are offered thereby. Due to

Defendant’s failure and refusal to remove access barriers to its website, Plaintiff and

visually-impaired persons have been and are still being denied equal access to Defendant’s

numerous goods, services and benefits offered to the public through the Website.

       29.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website on separate occasions using the JAWS screen-reader.

       30.     During Plaintiff’s visits to the Website, the last occurring in September,

2020, in an attempt to purchase a product from the Defendant, the Plaintiff encountered

multiple access barriers that denied Plaintiff a shopping experience similar to that of a

sighted person and full and equal access to the goods and services offered to the public and

made available to the public; and that denied Plaintiff the full enjoyment of the goods, and

services of the Website by being unable to purchase backpacks, emergency and survival



                                           -10-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 11 of 28




gear, flashlights, learning courses, first aid kits, self defense equipment, pillows, blankets

and other products available online for purchase, and to ascertain information relating to

pricing, shipping, creating an online account, ordering merchandise and return and privacy

policies.

        31.    While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired persons that include, but are not limited

to, the following:

               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is

an invisible code embedded beneath a graphical image on a website. Web accessibility

requires that alt-text be coded with each picture so that screen-reading software can speak

the alt-text where a sighted user sees pictures, which includes captcha prompts. Alt-text

does not change the visual presentation, but instead a text box shows when the keyboard

moves over the picture. The lack of alt-text on these graphics prevents screen readers from

accurately vocalizing a description of the graphics. As a result, Defendant’s visually-

impaired customers are unable to determine what is on the website, browse, or make any

purchases;

               b.      Empty Links That Contain No Text causing the function or purpose

of the link to not be presented to the user. They can introduce confusion for keyboard and

screen-reader users;

               c.      Redundant Links where adjacent links go to the same URL address

which results in additional navigation and repetition for keyboard and screen-reader users;

and




                                             -11-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 12 of 28




               d.      Linked Images Missing Alt-text, which causes problems if an image

within a link contains no text and that image does not provide alt-text. A screen reader then

has no content to present the user as to the function of the link, including information

contained in PDFs.

       32.     Many pages on the Website also contain the same title elements. This

is a problem for the visually-impaired because the screen reader fails to distinguish

one page from another. In order to fix this problem, Defendant must change the title

elements for each page.

       33.     The Website also contained a host of broken links, which is a

hyperlink to a non-existent or empty webpage. For the visually-impaired this is

especially paralyzing due to the inability to navigate or otherwise determine where

one is on the website once a broken link is encountered. For example, upon coming

across a link of interest, Plaintiff was redirected to an error page. However, the

screen-reader failed to communicate that the link was broken. As a result, Plaintiff

could not get back to his original search.

                    Defendant Must Remove Barriers To Its Website

       34.     Due to the inaccessibility of Defendant’s Website, blind and visually-

impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally

use or enjoy the goods, and services Defendant offers to the public on its Website. The

access barriers Plaintiff encountered have caused a denial of Plaintiff’s full and equal

access in the past, and now deter Plaintiff on a regular basis from accessing the Website.

       35.     These access barriers on Defendant’s Website have deterred Plaintiff from

visiting Defendant’s Website and enjoying it equal to sighted individuals because: Plaintiff



                                             -12-
       Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 13 of 28




was unable to use and enjoy the Website in the same manner as sighted individuals do,

preventing Plaintiff from using the Website to purchase items and to view the items.

        36.       If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

        37.       Through his attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually-impaired persons.

        38.       Because simple compliance with the WCAG 2.0 Guidelines would provide

Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff;

                  b.     Failure to construct and maintain a website that is not sufficiently

intuitive so as to be equally accessible to visually-impaired individuals, including Plaintiff;

and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired consumers, such as

Plaintiff, as a member of a protected class.

        39.       Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.




                                               -13-
            Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 14 of 28




              40.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

       this action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
               facilities to make such facilities readily accessible to and usable by individuals with
               disabilities . . . Where appropriate, injunctive relief shall also include requiring the
               . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

              41.     Because Defendant’s Website is not and has never been fully accessible,

       and because, upon information and belief, Defendant does not have, and has never had,

       adequate corporate policies that are reasonably calculated to cause its Website to become

       and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent

       injunction requiring Defendant to:

              a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
              Consultant”) who shall assist in improving the accessibility of its Website,
              including all third-party content and plug-ins, so the goods and services on the
              Website may be equally accessed and enjoyed by visually-impaired persons;

              b) Work with the Web Accessibility Consultant to ensure all employees involved
              in Website and content development be given web accessibility training on a
              biennial basis, including onsite training to create accessible content at the design
              and development stages;

              c) Work with the Web Accessibility Consultant to perform an automated
              accessibility audit on a periodic basis to evaluate whether Defendant’s Website may
              be equally accessed and enjoyed by visually-impaired persons on an ongoing basis;

              d) Work with the Web Accessibility Consultant to perform end-user
              accessibility/usability testing on at least a quarterly basis with said testing to be
              performed by humans who are blind or have low vision, or who have training and
              experience in the manner in which persons who are blind use a screen reader to
              navigate, browse, and conduct business on websites, in addition to the testing, if
              applicable, that is performed using semi-automated tools;

              e) Incorporate all of the Web Accessibility Consultant’s recommendations within
              sixty (60) days of receiving the recommendations;




                                                    -14-
Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 15 of 28




 f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
 that will be posted on its Website, along with an e-mail address, instant messenger,
 and toll-free phone number to report accessibility-related problems;

 g) Directly link from the footer on each page of its Website, a statement that
 indicates that Defendant is making efforts to maintain and increase the accessibility
 of its Website to ensure that visually-impaired persons have full and equal
 enjoyment of the goods, services, facilities, privileges, advantages, and
 accommodations of the Defendant’s Website;

 h) Accompany the public policy statement with an accessible means of submitting
 accessibility questions and problems, including an accessible form to submit
 feedback or an email address to contact representatives knowledgeable about the
 Web Accessibility Policy;

 i) Provide a notice, prominently and directly linked from the footer on each page of
 its Website, soliciting feedback from visitors to the Website on how the
 accessibility of the Website can be improved. The link shall provide a method to
 provide feedback, including an accessible form to submit feedback or an email
 address to contact representatives knowledgeable about the Web Accessibility
 Policy;

 j) Provide a copy of the Web Accessibility Policy to all web content personnel,
 contractors responsible for web content, and Client Service Operations call center
 agents (“CSO Personnel”) for the Website;

 k) Train no fewer than three of its CSO Personnel to automatically escalate calls
 from users with disabilities who encounter difficulties using the Website.
 Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
 such users with disabilities within CSO published hours of operation. Defendant
 shall establish procedures for promptly directing requests for assistance to such
 personnel including notifying the public that customer assistance is available to
 users with disabilities and describing the process to obtain that assistance;

 l) Modify existing bug fix policies, practices, and procedures to include the
 elimination of bugs that cause the Website to be inaccessible to users of screen
 reader technology; and

 m) Plaintiff, his counsel, and their experts monitor the Website for up to two years
 after the Mutually Agreed Upon Consultant validates the Website are free of
 accessibility errors/violations to ensure Defendant has adopted and implemented
 adequate accessibility policies. To this end, Plaintiff, through his counsel and their
 experts, shall be entitled to consult with the Web Accessibility Consultant at their
 discretion, and to review any written material, including but not limited to any
 recommendations the Website Accessibility Consultant provides Defendant.



                                     -15-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 16 of 28




       42.     Web-based technologies have features and content that are modified on a

daily, and in some instances an hourly, basis, and a one time “fix” to an inaccessible

website will not cause the website to remain accessible without a corresponding change in

corporate policies related to those web-based technologies. To evaluate whether an

inaccessible website has been rendered accessible, and whether corporate policies related

to web-based technologies have been changed in a meaningful manner that will cause the

website to remain accessible, the website must be reviewed on a periodic basis using both

automated accessibility screening tools and end user testing by visually-impaired persons.

       43.     If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired persons could independently shop for and otherwise research the

Defendant’s products via the Website.

       44.     Although Defendant may currently have centralized policies regarding

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by, blind

and other visually-impaired consumers.

       45.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making their Website

equally accessible to visually-impaired consumers.

       46.     Without injunctive relief, Plaintiff and other visually-impaired consumers

will continue to be unable to independently use the Website, violating their rights.

                       CLASS ACTION ALLEGATIONS




                                           -16-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 17 of 28




       47.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the United States who have attempted to access Defendant’s Website and as

a result have been denied access to the equal enjoyment of goods and services offered by

Defendant’s Website, during the relevant statutory period.

       48.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York State Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the State of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

       49.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York City Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the City of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

       50.     Common questions of law and fact exist amongst the Class and Sub-

Classes, including:

               a.     Whether Defendant’s Website is a “public accommodation” under

the ADA;

               b.     Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;




                                           -17-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 18 of 28




               c.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to visually-

impaired persons, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to visually-

impaired persons, violating the NYSHRL or NYCHRL.

       51.     Plaintiff’s claims are typical of the Class and Sub-Classes. The Class, and

Sub-Classes, similarly to the Plaintiff, are severely visually-impaired or otherwise blind

persons, and claim that Defendant has violated the ADA, NYSHRL or NYCHRL by failing

to update or remove access barriers on its Website so it can be independently accessible to

the Class and/or the Sub-Classes.

       52.     Plaintiff will fairly and adequately represent and protect the interests of the

Class Members because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, including ADA litigation and because

Plaintiff has no interests antagonistic to the Class Members. Class certification of the

claims is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

to act on grounds generally applicable to the Class, making appropriate both declaratory

and injunctive relief with respect to Plaintiff and the Class as a whole.

       53.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions are common to Class Members predominate over

questions affecting only individual Class Members, and because a class action is superior

to other available methods for the fair and efficient adjudication of their litigation.




                                             -18-
            Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 19 of 28




              54.       Judicial economy will be served by maintaining this lawsuit as a class action

       in that it is likely to avoid the burden that would be otherwise placed upon the judicial

       system by the filing of numerous similar suits by visually-impaired persons throughout the

       United States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

              55.       Plaintiff, on behalf of himself and the Class Members, repeats and realleges

       every allegation of the preceding paragraphs as if fully set forth herein.

              56.       Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
              enjoyment of the goods, services, facilities, privileges, advantages, or
              accommodations of any place of public accommodation by any person who owns,
              leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).


              57.       Defendant’s online retail store is a place of public accommodation within

       the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a

       service, privilege, or advantage of Defendant’s online retail store

              58.       Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities the opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodations of

       an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

              59.       Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities an opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodation,




                                                    -19-
             Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 20 of 28




       which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

               60.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

       also includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
               such modifications are necessary to afford such goods, services, facilities,
               privileges, advantages, or accommodations to individuals with disabilities, unless
               the entity can demonstrate that making such modifications would fundamentally
               alter the nature of such goods, services, facilities, privileges, advantages or
               accommodations; and a failure to take such steps as may be necessary to ensure that
               no individual with a disability is excluded, denied services, segregated or otherwise
               treated differently than other individuals because of the absence of auxiliary aids
               and services, unless the entity can demonstrate that taking such steps would
               fundamentally alter the nature of the good, service, facility, privilege, advantage,
               or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

               61.     The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

       persons under the ADA, has a physical disability that substantially limits the major life

       activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

       Plaintiff has been denied full and equal access to the Website, has not been provided

       services that are provided to other patrons who are not disabled, and has been provided

       services that are inferior to the services provided to non-disabled persons. Defendant has

       failed to take any prompt and equitable steps to remedy its discriminatory conduct. These

       violations are ongoing.

               62.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

       and incorporated therein, Plaintiff, requests relief as set forth below.

                                  SECOND CAUSE OF ACTION
                                 VIOLATIONS OF THE NYSHRL

                                                    -20-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 21 of 28




          63.   Plaintiff, on behalf of himself and the New York State Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          64.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent

or employee of any place of public accommodation . . . because of the . . . disability of any

person, directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

          65.   Defendant’s Website operates in the State of New York and constitutes an

online sales establishment and a place of public accommodation within the definition of

N.Y. Exec. Law § 292(9). Defendant’s Website is a service, privilege or advantage of

Defendant’s online retail establishment.

          66.   Defendant is subject to New York Human Rights Law because it owns

and/or operates its Website in the State of New York. Defendant is a person within the

meaning of N.Y. Exec. Law § 292(1).

          67.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated

therewith to be completely inaccessible to the blind. Their inaccessibility denies blind

patrons full and equal access to the facilities, goods and services that Defendant makes

available to the non-disabled public.

          68.   Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

                                            -21-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 22 of 28




privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or would

result in an undue burden".

       69.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no individual

with a disability is excluded or denied services because of the absence of auxiliary aids and

services, unless such person can demonstrate that taking such steps would fundamentally

alter the nature of the facility, privilege, advantage or accommodation being offered or

would result in an undue burden.”

       70.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other large business entities and government agencies in making their website

accessible, including but not limited to: adding alt-text to graphics and ensuring that all

functions can be performed using a keyboard. Incorporating the basic components to make

its Website accessible would neither fundamentally alter the nature of Defendant’s business

nor result in an undue burden to Defendant.

       71.     Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2) in

that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or




                                            -22-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 23 of 28




               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       72.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       73.     Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and New York State Sub-Class Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website under § 296(2) et seq. and/or

its implementing regulations. Unless the Court enjoins Defendant from continuing to

engage in these unlawful practices, Plaintiff and the Sub-Class Members will continue to

suffer irreparable harm.

       74.     Defendant’s actions were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

       75.     Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

       76.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       77.     Under N.Y. Exec. Law § 297 and the remedies, procedures and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.

                          THIRD CAUSE OF ACTION
                        VIOLATIONS OF THE NYCHRL




                                            -23-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 24 of 28




          78.   Plaintiff, on behalf of himself and the New York City Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          79.   N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation, because of . . . disability . . . directly or indirectly, to refuse, withhold

from or deny to such person, any of the accommodations, advantages, facilities or

privileges thereof.”

          80.   Defendant’s website is an online sales establishment and a place of public

accommodation within the definition of N.Y.C. Admin. Code § 8-102(9), and its Website

is a service that is integrated with its online sales establishment.

          81.   Defendant is subject to NYCHRL because it owns and/or operates its

Website in the City of New York, making it a person within the meaning of N.Y.C. Admin.

Code § 8-102(1).

          82.   Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated therewith to be completely inaccessible to the blind. The inaccessibility

denies blind consumers full and equal access to the facilities, goods, and services that

Defendant makes available to the non-disabled public.

          83.   Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to



                                             -24-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 25 of 28




enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

       84.     Defendant’s actions constitute willful intentional discrimination against the

Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-

107(4)(a) and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       85.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       86.     As such, Defendant discriminates, and will continue in the future to

discriminate, against Plaintiff and members of the proposed class and Sub-Class on the

basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, accommodations and/or opportunities of its Website under § 8-

107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant from

continuing to engage in these unlawful practices, Plaintiff and members of the Sub-Class

will continue to suffer irreparable harm.

       87.     Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.



                                            -25-
      Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 26 of 28




        88.     Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as

well as punitive damages pursuant to § 8-502.

        89.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

        90.     Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                           FOURTH CAUSE OF ACTION
                             DECLARATORY RELIEF

        91.     Plaintiff, on behalf of himself and the Class and New York State and City

Sub-Classes Members, repeats and realleges every allegation of the preceding paragraphs

as if fully set forth herein.

        92.     An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that its Website

contains access barriers denying blind customers the full and equal access to the goods and

services of its Website, which Defendant owns, operates and controls, fails to comply with

applicable laws including, but not limited to, Title III of the Americans with Disabilities

Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code

§ 8-107, et seq. prohibiting discrimination against the blind.

        93.     A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:




                                             -26-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 27 of 28




               a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law

§ 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take

all the steps necessary to make its Website into full compliance with the requirements set

forth in the ADA, and its implementing regulations, so that the Website is readily

accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq.,

and the laws of New York

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys

as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory and punitive damages and fines, to Plaintiff and the

proposed class and Sub-Classes for violations of their civil rights under New York State

Human Rights Law and City Law;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of the action; and

               h.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28

CFR § 36.505, including costs of monitoring Defendant’s compliance with the judgment



                                            -27-
     Case 1:20-cv-07540-AJN Document 1 Filed 09/14/20 Page 28 of 28




(see Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS

(W.D. Pa. Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee

petition before the Court surrenders jurisdiction. See also, Pennsylvania v. Delaware

Valley Citizens’ Council for Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S.

711 (1987); see also Access Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D.

Mass. Apr. 17, 2018) (ECF 11); and

               i.      Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated: New York, New York
       September 14, 2020
                                                          GOTTLIEB & ASSOCIATES

                                                                 s/Jeffrey M. Gottlieb, Esq.

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                                           -28-
